Case 1:20-cr-00305-LDH Document 93 Filed 06/17/22 Page 1 of 2 PageID #: 602




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------------- x

 UNITED STATES OF AMERICA,
                                                                             NOTICE OF PRETRIAL
                                                                             MOTIONS FOR
                                                                             DEFENDANT
                               -against-                                     KARL JORDAN, JR.

 KARL JORDAN, JR., et al.,                                                   20 Cr. 305 (LDH)

                                                          Defendants.

 ----------------------------------------------------------------------- x

         PLEASE TAKE NOTICE, that upon the accompanying memorandum of law,

 dated June 17, 2022 and upon all prior proceedings held herein, defendant, Karl Jordan,

 Jr., moves before the Honorable LaShann DeArcy Hall, United States District Judge, at

 the United States Courthouse for the Eastern District of New York, for the following

 relief, orders:

         1) suppressing all data obtained from Mr. Jordan’s phones and all fruits of the

 poisonous tree regarding the government’s investigation; and

         2) suppressing Mr. Jordan’s post-arrest statement.
Case 1:20-cr-00305-LDH Document 93 Filed 06/17/22 Page 2 of 2 PageID #: 603




          Mr. Jordan also requests leave to join in his co-defendant’s motions to the extent

 they are beneficial to his defense and such other and further relief as the Court may deem

 just and proper.

 Dated:          Brooklyn, New York
                 June 17, 2022

                                                Respectfully submitted,

                                                ____/s/_______________________
                                                MICHAEL HUESTON, ESQ.
                                                16 Court Street, 35th Floor
                                                Brooklyn, New York 11241
                                                (718) 246-2900

                                                MARK S. DEMARCO, ESQ.
                                                Attorney at Law
                                                3867 East Tremont Avenue
                                                Bronx, New York 10465
                                                (718) 239-7070

                                                JOHN A. DIAZ, ESQ.
                                                DIAZ & MOSKOWITZ, PLLC.
                                                225 Broadway, Suite 715
                                                New York, NY 10007
                                                212-227-8208

                                                MONICA NEJATHAIM, ESQ.
                                                Fischetti & Malgieri LLP
                                                565 5th Avenue, 7th Floor
                                                New York, New York 10017
                                                (212) 593-7100

                                                Counsel for Karl Jordan, Jr.



 To:      Counsel of Record




                                               2
